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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
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         Individual appearing without an attorney
         Attorney for: FOREMOST GROUPS, INC.

                                             UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

    In re:                                                                      CASE NO.: 2:13-bk-17409-RK
                                                                                CHAPTER: 7


    AYERS BATH (U.S.A.) CO., LTD.                                               NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion 1):
                                                                                ORDER EXTENDING DISCOVERY AND ADJOURNING
                                                                                STATUS HEARING DATE FOR RENEWED MOTION TO
                                                                                AMEND THE JUDGMENT TO ADD TANGSHAN AYERS
                                                                                BATH AS JUDGMENT DEBTOR
                                                                  Debtor(s)


PLEASE TAKE NOTE that the order titled Order Extending Discovery and Adjourning Status Hearing Date for Foremost
Groups, Inc.’s Renewed Motion to Amend the Judgment of the Bankruptcy Court to Add Tangshan Ayers Bath Equipment
Co. Ltd. As Judgment Debtor was lodged on (date) October 14, 2020   and is attached. This order relates to the
motion which is docket number 118.




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                          Attorneys for Defendant
                      7   FOREMOST GROUPS, INC.

                      8
                                                      UNITED STATES BANKRUPTCY COURT
                      9
                                                      CENTRAL DISTRICT OF CALIFORNIA
                     10
                                                            LOS ANGELES DIVISION
                     11

                     12
                                                                             Case No. 2:13-bk-17409-RK
                     13
                          In re:                                             Chapter 7
                     14
                                                                             CONSENT ORDER ADJOURNING
                     15   AYERS BATH (U.S.A.) CO., LTD.,                     STATUS HEARING DATE FOR
                                                                             FOREMOST GROUPS, INC.’S
                     16                      Debtor                          RENEWED MOTION TO AMEND THE
                                                                             JUDGMENT OF THE BANKRUPTCY
                     17                                                      COURT TO ADD TANGSHAN AYERS
                                                                             BATH EQUIPMENT CO. LTD. AS
                     18                                                      JUDGMENT DEBTOR

                     19                                                      Docket No. 118

                     20

                     21            The relief set forth on the following page, numbered two (2), is SO ORDERED.

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  FAEGRE DRINKER
BIDDLE & REATH LLP        CONSENT ORDER ADJOURNING STATUS
                                                                                               CASE NO. 2:13-BK-17409-RK
  ATTORNEYS AT LAW        HEARING DATE
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                      1            UPON CONSIDERATION of the Stipulation between Tangshan Ayers Bath Equipment

                      2   Co., Ltd. and Foremost Groups, Inc. (“Foremost”) regarding the status hearing date on

                      3   Foremost’s Renewed Motion to Amend the Judgment of the Bankruptcy Court to Add Tangshan

                      4   Ayers Bath Equipment Co. Ltd. as Judgment Debtor [D.E. 118] (the “Motion”), and good cause

                      5   appearing:

                      6            IT IS ORDERED that the status hearing on the Motion shall be adjourned from October

                      7   28, 2020 at 1:30 p.m. to December 2, 2020 at 1:30 p.m., or as soon thereafter as counsel may be

                      8   heard.

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  FAEGRE DRINKER
BIDDLE & REATH LLP        CONSENT ORDER ADJOURNING STATUS
                                                                        -2-                     CASE NO. 2:13-BK-17409-RK
  ATTORNEYS AT LAW        HEARING DATE
Lodged Order Upload (L.O.U)                                             Page 1 of 1
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                             Bankruptcy LODGED ORDER UPLOAD FORM

                                                                         Wednesday, October 14, 2020




  CONFIRMATION :

   Your Lodged Order Info:
  ( 10290942.docx )
   A new order has been added




     •   Office: Los Angeles
     •   Case Title: Ayers Bath (U.S.A.), Co.,Ltd.
     •   Case Number: 13-17409
     •   Judge Initial: RK
     •   Case Type: bk ( Bankruptcy )
     •   Document Number: 193
     •   On Date: 10/14/2020 @ 12:07 PM


  Thank You!


  United States Bankruptcy Court
  Central District of California
  Edward R. Roybal Federal Building and Courthouse
  255 East Temple Street
  Los Angeles, CA 90012




https://ecf-ciao.cacb.uscourts.gov/UploadOrders/Default.aspx?cmCookie=3642243-4137-... 10/14/2020
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
__10/14/2020_______, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


E-mail service provided to the parties listed on the attached Service List


                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _10/14/2020__________, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.


Judge Robert N. Kwan by Personal Delivery
United States Bankruptcy Court, Central District of California
255 E. Temple Street, Suite 1682 / Courtroom 1675
Los Angeles, CA 90012



                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 14, 2020                   Ryan M. Salzman                                            /s/ Ryan M. Salzman
 Date                          Printed Name                                                    Signature



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                                                               SERVICE LIST

                                                 Case No. Case No. 2:13-bk-17409-RK

                                                                       In re:

                                                 AYERS BATH (U.S.A.) CO., LTD.

                                                                      Debtor.

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